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                                    UNITED STATES DISTRICT COURT
6
                                          DISTRICT OF NEVADA
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8
        UNITED STATES OF AMERICA,                          Case No. 2:10-cr-00003-JCM-PAL
9
                                              Plaintiff,
10                                                                      ORDER
               v.
11
        CHRISTOPHER J. BIGGERS,
12
                                           Defendant.
13

14            Presently before the court is Christopher Biggers’ motion to enter a corrected order on the

15     docket for this case. (ECF No. 167).

16            Biggers requests that the court amend the order, but offers no compelling reason for the

17     amendment.

18            The court declines.

19            Accordingly,

20            IT IS HEREBY ORDERED that petitioner’s motion to amend (ECF No. 167) be, and the

21     same hereby is, DENIED.

22            DATED THIS 27th day of February, 2017.

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24                                                           JAMES C. MAHAN
                                                             UNITED STATES DISTRICT JUDGE
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